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6                              UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
8                                                ***
9    ROBERT MARC LEEDS,                                Case No. 3:15-cv-00261-LRH-CBC
10                                     Petitioner, ORDER
            v.
11
     WARDEN BACA, et al.,
12
                                   Respondents.
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15          Respondents’ second unopposed motion for enlargement of time (ECF No. 68) is
16   GRANTED. Respondents shall have to and including November 13, 2018, within which
17   to file an answer to the remaining claims of the petition in this case.
18          DATED this 27th day of September, 2018.
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21                                                      LARRY R. HICKS
                                                        UNITED STATES DISTRICT JUDGE
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